Case 2:Ol-cv-02920-.]PI\/|-STA Document 15 Filed 08/03/05 Page 1 of 2 Page|D 33

IN THE UNITEI) sTATEs DISTRICT CoURT F"'ED B"' %§5-- Wi-

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION 05 AUG `3 AH 8: 53
BARBARA HANNAH, ) CLERTK|'KE§§‘°J‘§ '““Q?‘~O%M
) W.o=:;=!~‘ ‘
Plaimiff, )
)
v. ) No. 2:01cv2920-M1
) JURY DEMAND
GLAXOSMITHKLINE, plc; )
sMITHKLINE BEECHAM )
CORPORATIGN; )
GLAXO wELLCoME, INC., )
)
Defendauts. )

AGREED ORDER OF DISMISSAL
By agreement of plaintiff and defendant SrnithKlineBeecham Corporation, d/b/a
GlaxoSmithKline (erroneously sued as Glaxo Wellcome, lnc.), as evidenced by the signatures of
counsel below, plaintiff s claims in this case are hereby dismissed With prejudice The parties to

this action shall bear their own costs.

IT ls so oRDERED. /Q\O my Q‘QQ
D STATES DISTRICT JUDGE
Appr ed for entry: `_

Dianna Baker Shew

STITES & HARBISON PLLC

424 Church Street, Suite 1800

Nashville, TN 37219

Attornzfor Defendant SrnithKline Beecharn

 

 

rat on dfb/a GlaxoSmithKline

,,r_~.)\///t.,..

Leila H. Watson

Cory, Watson, Crowder & DeGan`S
213 l Magnolia Avenuc
Binningham, AL 3 5205

Attorney for Plaintiff

     

 

Thfs document entered on the docket sheet in compliance
with ama 53 and/or rs(a) FRCP en 51 ' Z'G‘§

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 15 in
case 2:0]-CV-02920 Was distributed by faX, mail, or direct printing on
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Honorable J on l\/lcCalla
US DISTRICT COURT

